Case 2:04-cv-02430-SHI\/|-dkv Document 25 Filed 08/29/05 PagelofS Page|D 2

Fu.ED BY ~._. -C`~
IN 'I'HE UNI'I'ED STATES DISTRIC'I‘ COURT

FoR THE wESTERN DISTRICT oF TENNESSE ,MG
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UHK ‘:sa , AMHT

MARY M. GILL, wpq§l}?§§l%
Plaintiff,

vs. No. 04-2430-Ma

JO ANNE B. BARNHART,
COMIV.[ISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER CON'I‘INUING STAY OF BRIEFING SC'HEDULE
AND ADMINISTR.ATIVELY CLOSING CASE

 

On May 6, 2005, the court entered an order holding the
briefing schedule in this case in abeyance pending the outcome
before the Sixth Circuit Court of Appeals in the case of Combs v.
Commissioner of Social Securitv.

Defendant now advises that the Sixth Circuit has vacated its
decision in ngb§, that the case is now pending on the active
docket, and that a new decision will be rendered. The case will
be argued to the en banc court on December 7, 2005.

Because the ngb§ case may affect the outcome of this case,
the court finds that the stay of the briefing schedule in this
matter should be continued and that this case should be closed
administratively at this time. Such closure is in no way a
determination of the substantive issues between the parties or

their procedural right to pursue this matter at a later date.

Tiiis document entered on the dock?s et in compliance
w¢th Ru!e 58 and/or 79(a) FRCP on"§£(§

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This case is therefore closed administratively. Either
party may move to reopen this case at such time as a new decision
has been rendered by the Sixth Circuit Court of Appeals in the

Combs case.

It is so ORDERED this 7"(`1,(<:'1ay of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

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This notice confirms a copy of the document docketed as number 25 in
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Honorable Samuel Mays
US DISTRICT COURT

